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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________
         Southern     District of _________________
                                   New York
                                        (State)
                                                             11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Solstice Marketing Concepts LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                5 ___
                                              ___ 1 – ___
                                                       0 ___
                                                          4 ___
                                                             1 ___
                                                                4 ___
                                                                   5 ___
                                                                      7 ___
                                                                         9
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business
                                                                                                          c/o KCP Advisory Group LLC
                                              ______________________________________________
                                               665        5th Avenue                                      700 Technology Park Drive, Suite 212
                                                                                                         _______________________________________________
                                              Number     Street                                          Number     Street

                                               8th Floor
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               New York                   NY       10022
                                              ______________________________________________             Billerica                  MA        01821
                                                                                                         _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               New York
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://solsticesunglasses.com/
                                              ____________________________________________________________________________________________________




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Debtor         Solstice Marketing Concepts LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              4 ___
                                                 5 ___
                                                    3 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                          x   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor           Solstice Marketing Concepts LLC
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           
                                             x No
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases              
                                             x No
       pending or being filed by a
       business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                             
                                             x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have           
                                             x No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?

                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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Debtor        _______________________________________________________
              Solstice Marketing Concepts LLC                                                   Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         x Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                         
                                         x 200-999

                                          $0-$50,000                        
                                                                             x $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        
                                                                             x $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on __02/17/2021_______________
                                                         MM / DD / YYYY


                                          /s/
                                             _____________________________________________
                                                       Jacen A. Dinoff                                    Jacen A. Dinoff
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




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Debtor         Solstice Marketing Concepts LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                           _____________________________________________
                                               /s/     Craig A. Wolfe                                Date          _________________
                                                                                                                    02/17/2021
                                            Signature of attorney for debtor                                       MM    / DD / YYYY



                                            Craig A. Wolfe
                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                             Morgan, Lewis & Bockius LLP
                                           Firm name
                                            101       Park Avenue
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________
                                            New York                                                       ____________ 10178-0060
                                                                                                           NY           ______________________________
                                           City                                                            State          ZIP Code

                                            212-309-6204
                                           ____________________________________                              craig.wolfe@morganlewis.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________
                                            4412334                                               ____________
                                                                                                  NY
                                           Bar number                                             State




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     Craig A. Wolfe
     Jason R. Alderson
     T. Charlie Liu
     David K. Shim
     MORGAN, LEWIS & BOCKIUS LLP
     101 Park Avenue
     New York, NY 10178
     Telephone: (212) 309-6000
     Facsimile: (212) 309-6001
     craig.wolfe@morganlewis.com
     jason.alderson@morganlewis.com
     charlie.liu@morganlewis.com
     david.shim@morganlewis.com

     Proposed Counsel for Debtor and Debtor-in-Possession


     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

     In re:
                                                                     Chapter 11
     SOLSTICE MARKETING CONCEPTS LLC,
                                                                     Case No. 21-________(___)
                                     Debtor.1

                            CORPORATE OWNERSHIP STATEMENT
                         PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

              Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

 Procedure, attached hereto as Exhibit A is an organizational chart reflecting all of the ownership

 interests in Solstice Marketing Concepts LLC (the “Debtor”), as debtor and debtor in possession,

 in the above-referenced chapter 11 case. The Debtor respectfully represents as follows:

              1.     Corette LLC, a Delaware limited liability company, directly owns 100% of the

 equity or membership interests, as applicable, in Fairway LLC (“Fairway”).



 1
  The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is: Solstice
 Marketing Concepts LLC (4579).


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          2.       Fairway, a Nevada limited liability company, directly owns 100% of the equity or

 membership interests, as applicable, in the Debtor.



                              [Remainder of page intentionally left blank]




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                                      EXHIBIT A

                                  Organizational Chart




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                   CORETTE LLC                                             G.S.I. CORP.

         a Delaware limited liability company.                          a New York corporation.

     Members: (1) Claudio Luca Dotta (50%); and         Shareholders: (1) Gabriella Rosenberg (55%); (2) Michael
             Nathan Rosenberg (50%).                     Rosenberg (15%); (3) David Rosenberg (15%); and (4)
                                                                        Naomi Rosenberg (15%).
     Purpose: Holds 100% of the equity in Fairway
              LLC and no other entities.                 President/Chief Executive Officer: Nathan Rosenberg.

                                                          Purpose: Wholesale optical frame and sunglass trader.

                                                         Secured Creditor of Solstice Marketing Concepts LLC.



                   FAIRWAY LLC
           a Nevada limited liability company.

    Sole Member and Manager: Corette LLC (100%).

     Purpose: Holds 100% of the equity in Solstice
     Marketing Concepts LLC and no other entities.




                       DEBTOR:

            SOLSTICE MARKETING
               CONCEPTS LLC
           a Delaware limited liability company.

     Sole Member and Manager: Fairway LLC (100%).

         Chief Restructuring Officer: Jacen Dinoff.

       Chief Executive Officer: Michael Rosenberg.

      Purpose: Brick and mortar and online sunglasses
                         retailer.




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     Craig A. Wolfe
     Jason R. Alderson
     T. Charlie Liu
     David K. Shim
     MORGAN, LEWIS & BOCKIUS LLP
     101 Park Avenue
     New York, NY 10178
     Telephone: (212) 309-6000
     Facsimile: (212) 309-6001
     craig.wolfe@morganlewis.com
     jason.alderson@morganlewis.com
     charlie.liu@morganlewis.com
     david.shim@morganlewis.com

     Proposed Counsel for Debtor and Debtor-in-Possession


     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

     In re:
                                                                     Chapter 11
     SOLSTICE MARKETING CONCEPTS LLC,
                                                                     Case No. 21-________(___)
                                     Debtor.1

                                 LIST OF EQUITY SECURITY HOLDERS

              Following is the list of the Debtor’s equity security holder(s), which is prepared in

 accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case.

                 DEBTOR                    NAME AND ADDRESS OF                           PERCENTAGE OF
                                             EQUITY HOLDER                                EQUITY HELD
     Solstice Marketing Concepts           Fairway LLC                                             100%
                LLC                        c/o Law Offices of Philip A
                                           Kantor PC
                                           1781 Village Center Circle,
                                           Suite 120
                                           Las Vegas, NV 89134-0573


 1
  The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is: Solstice
 Marketing Concepts LLC (4579).


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      Fill in this information to identify the case:

                   Solstice Marketing Concepts LLC
      Debtor name __________________________________________________________________

                                                        Southern
      United States Bankruptcy Court for the: ______________________             New York
                                                                     District of _________

      Case number (If known):    _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Macerich                                Rachel Douglas                  Landlord                                                                    $1,395,001
1
     P.O. Box 2172                           TysonsCorner_AR@
     401 Wilshire Blvd., Ste 700             macerich.com
     Santa Monica, CA 90401                  424-229-3753
2    Safilo USA Inc.                         Yanielle Green                   Merchandise                                                                $594,347
     300 Lighting Way                        yanielle.green@
     Secaucus, NJ 07094                      safilo.com

     Brookfield Properties                  Mitchell Monson                Landlord                                                                      $510,241
3
     Attn: General Manager                  mitchell.monson@
     2655 Richmond Ave                      brookfieldpropertiesretail.com
     Staten Island, NY 10314                312-960-2900
     500 Fifth Avenue, Inc.                 Debbie Garcia                  Landlord                                                                      $498,858
4    c/o JGS Advisors, LLC
     Attn: Mr. Joel G. Shapiro              debbie.garcia@
     500 Fifth Ave., Ste 1950               cushwake.com
     New York, NY 10110                     212-391-4210
     Westfield LLC                          Joanne King                    Landlord                                                                      $447,936
5    Airport Division Management
     Office                                 jking@westfield.com
     2730 University Blvd., Ste LL6
     Wheaton, MD 20902
     Columbus Centre Retail                  Brian McEvoy                    Landlord                                                                    $437,407
6
     Attn: David A. Rubenstein, Esq.         brian.mcevoy@related.com
     60 Columbus Cir., 20th Fl.              212‐801‐7424
     New York, NY 10023

7
      Waller Realty Inc.                     Phillip Duchatellier            Landlord                                                                    $328,104
      233 Broadway, 18th Fl.                 pducha@aol.com
      New York, NY 10279                     631-864-6260

     Turnberry Associates                  Robert Mendola                    Landlord                                                                    $230,753
8
     c/o Turnberry Aventura Mall Co., Ltd. rmendola@turnberry.com
     19501 Biscayne Blvd., Ste 400         305-914-8216
     Aventura, FL 33180




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    Debtor          Solstice Marketing Concepts LLC
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




     Name of creditor and complete                Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code          email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional           unliquidated,   total claim amount and deduction for value of
                                                                                services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

      MADALUXE                                    Cynthia Valdez                Merchandise                                                                  $214,787
9
      1760 Apollo Court                           cynthia.valdez@
      Seal Beach, CA 90740                        madaluxe.com
                                                  562-296-1055
      QUAY EYEWARE INC.                           Gerry Paulino                 Merchandise                                                                  $195,933
10
      821 Howard St.                              gerry.paulino@
      San Francisco, CA 94103                     quayaustralia.com
                                                  628-239-1279
                                                  Lisa Towle & Darren Jones                                                                                  $178,166
11 CENTURYLINK                                    lisa.towle@rdssolutions.com;
                                                                                Other Trade Debt
      1801 California St., 25th Fl.
                                                  darren.jones@rdssolutions.com
      Phoenix, AZ 85072-2124
                                                  908-617-4705

      MAUI JIM                                    John Gramig                   Merchandise                                                                  $167,109
12
      P.O. BOX 203861                             jgramig@mauijim.com
      Dallas, TX 75320-3861                       503-860-3006

   JLL                                            Ben Davinroy                  Landlord                                                                     $157,424
13
   c/o Maui Lahaina Partners, LLC                 ben.davinroy@am.jll.com
   3660 Waialae Ave., Ste 304                     618-624-4241
   Honolulu, HI 96816
   BMW Realty Advisors                            Leslie Mills                  Landlord                                                                     $150,690
14
   Attn: President & CEO, Retail                  admin@
   3344 Peachtree Rd., Ste 1200                   paseonuevoshopping.com
   Atlanta, GA 30326                              805-963-7147
                                                  My Nguyen & Daisy Villacis Merchandise
15 KERING EYEWEAR USA INC                                                                                                                                    $132,372
   200 Somerset Corp Blvd.                        my.nguyen-ho@kering.com;
   Ste 4002                                       daisy.villacis@kering.com
   Bridgewater, NJ 08807                          908-947-2614
                                                                                Other Trade Debt                                                             $113,411
16 CONDUCTOR INC                                  Thomas E. Conway
      2 Park Ave., 15th Fl.
                                                  tconway@conductor.com
      New York, NY 10016

      The Pyramid Companies                       Allyson Legnett               Landlord                                                                     $107,368
17    General Counsel                             AllysonLegnetto
      The Clinton Exchange
      4 Clinton Square
                                                  @pyramidmg.com
      Syracuse, NY 13202                          315-422-7000
      Institutional Mall Investors                Cindy DiMino                   Landlord                                                                    $100,722
18    General Manager
      c/o Miracle Mile Shops Management Offices
                                                  cdimino@mms-lv.com
      3663 Las Vegas Blvd South, Ste 900          702-701-7805
      Las Vegas, NV 89115


19 B ROBINSON LLC                                 Cliff Robinson                Merchandise                                                                  $96,071
     330 Murray Hill Pkwy                         ar@brobinson.com
     East Rutherford, NJ 07073                    212-683-0348 x120

20
      The Taubman Company                         Janice Sanders                Landlord                                                                     $85,505
      Taubman Benderson UTC LLC                   jsanders@taubman.com
      P.O. Box 674647                             248-258-7562
      Detroit, MI 48267




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 2
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 Fill in this information to identify the case and this filing:


              Solstice Marketing Concepts LLC
 Debtor Name __________________________________________________________________

                                                  Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         x    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                     Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007 and 7007.1;
                                                     List of Equity Security Holders; see also attached Declaration of Jacen A. Dinoff
         Other document that requires a declaration__________________________________________________________________________________
        x
                                                     in Support of Chapter 11 Petition
        I declare under penalty of perjury that the foregoing is true and correct.




        Executed on ____02/17/2021 __________                    /s/      Jacen A. Dinoff
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Jacen A. Dinoff
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Craig A. Wolfe
 Jason R. Alderson
 T. Charlie Liu
 David K. Shim
 MORGAN, LEWIS & BOCKIUS LLP
 101 Park Avenue
 New York, NY 10178
 Telephone: (212) 309-6000
 Facsimile: (212) 309-6001
 craig.wolfe@morganlewis.com
 jason.alderson@morganlewis.com
 charlie.liu@morganlewis.com
 david.shim@morganlewis.com

 Proposed Counsel for Debtor and Debtor-in-Possession


     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

     In re:
                                                                     Chapter 11
     SOLSTICE MARKETING CONCEPTS LLC,
                                                                     Case No. 21-________(___)

                                     Debtor.1

     DECLARATION OF JACEN A. DINOFF IN SUPPORT OF CHAPTER 11 PETITION

        I, Jacen A. Dinoff, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as
 follows:

              1.   I hereby submit this declaration (the “Declaration”), made in my capacity as the

 Chief Restructuring Officer of Solstice Marketing Concepts LLC (the “Debtor”).

              2.   On February 17, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under subchapter V of chapter 11 of title 11 of the United States Code (the “Bankruptcy

 Code”) (the “Chapter 11 Petition”).



 1
  The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is: Solstice
 Marketing Concepts LLC (4579).


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          3.       Pursuant to section 1116 of the Bankruptcy Code, a small business debtor

 proceeding under Subchapter V of chapter 11 of the Bankruptcy Code needs to file copies of the

 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax

 return, or state under penalty of perjury if any of these documents do not exist.

          4.       As to the Debtor’s federal income tax return, the Debtor files a tax return that is

 consolidated with certain non-debtor entities. Therefore, for privacy reasons, the tax return is not

 being attached to the Chapter 11 Petition. The tax return will be made available to the Office of

 the United States Trustee, the Subchapter V Trustee, and the Court, and, upon request, other

 appropriate parties in interest subject to an order of the Court or other non-disclosure parameters.

          5.       As to the Debtor’s balance sheet and cash-flow statement, those documents will be

 included as an exhibit to the Declaration of Jacen A. Dinoff in Support of the Debtor’s Chapter 11

 Petition, First Day Motions and Related Pleadings (the “First Day Declaration”), which will be

 filed shortly after the Petition Date before the first day hearing in this chapter 11 case.

          6.       As to the Debtor’s statement of operations, the Debtor will provide appropriate

 information in the First Day Declaration and the Debtor’s schedules and statement of financial

 affairs, which will also be filed in accordance with the applicable rules.

          7.       I, on behalf of the Debtor, respectfully submits this Declaration in support of the

 Chapter 11 Petition.



 Dated: February 17, 2021
        New York, NY

                                                        _________________________
                                                        /s/    Jacen A. Dinoff
                                                        Jacen A. Dinoff
                                                        Chief Restructuring Officer
                                                        Solstice Marketing Concepts LLC



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                             CREDITOR LIST
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                              1-800-GOT-JUNK?
                                PO Box 123419
                             Dallas, TX 75312-3419



                                23rd Group LLC
                            4944 Parkway Plaza Blvd
                                    Ste 400
                              Charlotte, NC 28217



                                43 Studios, LLC
                                 PO Box 2519
                               Ketchum, ID 83340



                             500 Fifth Avenue, Inc.
                             c/o JGS Advisors, LLC
                            Attn: Mr. Joel G. Shapiro
                                  500 Fifth Ave
                                   Suite 1950
                              New York, NY 10110



                            Academy Fire Protection I
                                 42 Broadway
                              Lynbrook, NY 11563



                               Admiral Indemnity
                            7233 East Butherus Drive
                           Scottsdale, AZ 85260-2410


                                  Adobe Inc.
                               345 Park Avenue
                              San Jose, CA 95110

                                 Agilence Inc
                               1020 Briggs Road
                                   Suite 110
                              Mt Laurel, NJ 08054



                                       1
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                            Air Masters Systems, Inc.
                             5654 Sugar Maple Way
                               Fontana, CA 92336



                            AJ Squared Security Inc
                                 P.O. Box 481
                            Merrick, NY 11566-0481



                               Alameda County
                               1221 Oak Street
                                  Room 131
                              Oakland, CA 94612



                              Allegiant Group LLC
                                 11 Foxhill Lane
                                  A Services Inc
                             Minneapolis, MN 55485

                                   Amazon
                            410 Terry Avenue North
                              Seattle, WA 98109


                                American Express
                                P.O. Box 360001
                         Fort Lauderdale, FL 33336-0001



                               Ameripark LLC
                             1275 Broadway Plaza
                            Walnut Creek, CA 94596



                                 Amperity, Inc
                                  41 W 25st
                                   3rd Flr
                              New York, NY 10010



                                       2
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                                   APPLE
                            90-15 Queens Boulevard
                              Elmhurst, NY 11373


                                 Appriss Retail
                              9901 Linn Station Rd
                                   Suite 500
                           Cincinnati, OH 45263-9640



                                Aptos Canada Inc
                               15 Governer Drive
                             Chicago, IL 60666-0512



                           Arch Insurance Company
                                 PO Box 12909
                          Philadelphia, PA 19176-0909



                            Arizona Dept of Revenue
                         Transaction Privilege & Use Tax
                                 P.O. Box 29010
                            Phoenix, AZ 85038-9010



                                    AT&T
                               515 N. Julia Street
                                  Suite # 213
                             Jacksonville, FL 32202



                                Atlantic PC Inc
                               55 Northern Blvd
                                   Suite 001
                             Great Neck, NY 11021



                              Attentive Mobile Inc
                              156 5th Ave Ste 303
                              New York, NY 10010


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                            Axis Global System LLC
                            343 Murray Hill Parkway
                            East Rutherford, NJ 07073



                                      Axper
                               127 Boul Richelieu
                            Richelieu, Quebec J3L 3R



                                 B Robinson LLC
                             330 Murray Hill Pkwy
                            East Rutherford, NJ 07073


                             Bank of America, N.A.
                                PO Box 15284
                             Wilmington, DE 19850


                                Bank of Hawaii
                                IWILEI Branch
                              909 Dillingham Blvd
                              Honolulu, HI 96187


                                 Barton Perreira

                           REDACTED

                           Bexar County Tax Collector
                                PO Box 839950
                            San Antonio, TX 78207



                                 Bieri & Ames
                             660 Woodward Avenue
                                  Suite 1500
                               Detroit, MI 48226




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                               Bluebonnet Electric
                              101 Security Parkway
                              New Albany, IN 47150



                              BMW Realty Advisors
                         Jones Lang LaSalle Americas, Inc
                          Attn: President and CEO, Retail
                                3344 Peachtree Rd.
                                     Suite 1200
                                 Atlanta, GA 30326



                              Boss Facility Services
                                1 Roebling Court
                             Ronkonkoma, NY 11779



                                 Brads Deals LLC
                              6115 Estate Smith Bay
                                   Ste 315/Box 7
                               St Thomas, VI 00802



                               Brink's Incorporated
                                 PO Box 101031
                             Atlanta, GA 30392-1031



                              Brookfield Properties
                              Baybrook Mall, LLC
                               350 N. Orleans St.
                                   Suite 300
                               Chicago, IL 60654



                              Brookfield Properties
                                Glendale Galleria
                              Attn: General Manager
                                100 W. Broadway
                                     Suite 100
                               Glendale, CA 91210


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                              Brookfield Properties
                                Mall of Louisiana
                             Law/Lease Admin Dept
                              c/o Mall of Louisiana
                               110 N. Wacker Dr.
                               Chicago, IL 60606



                              Brookfield Properties
                            Staten Island Mall Phase I
                              Attn: General Manager
                               2655 Richmond Ave
                             Staten Island, NY 10314



                               Broward County, FL
                           115 S. Andrews Ave #A100
                          Fort Lauderdale, FL 33301-895



                       California Dept of Tax and Fee Admin
                                  PO Box 942879
                            Sacramento, CA 94279-7072



                              Cardmember Service
                                  PO Box 1423
                            Charlotte, NC 28201-1423



                            Castlewood Partners LLC
                             16 Middle Neck Road
                                   Suite # 130
                             Great Neck, NY 11021



                                Catalyst Tags Inc
                             4620 Grandover Parkway
                              Greensboro, NC 27407



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                       Central Hudson Gas & Electric Corp
                              101 Security Parkway
                             Chicago, IL 60677-2007



                                  Centurylink
                               1801 California St
                                  25th Floor
                            Phoenix, AZ 85072-2124



                            Chelsea Sanitation Service
                                  P.O. Box 451
                               Kearny, NJ 07032



                                Cigna Healthcare
                                      Chlic
                                  PO Box 64454
                              Pittsburgh, PA 15264



                            Circuit of The Americas L
                        9201 Circuit of The Americas Blvd
                              Del Valle, TX 78617



                                 City of Arcadia
                          Attn: Business License office
                            240 West Huntington Dr
                               Arcadio, CA 91066



                            City of Auburn Hills, MI
                             1827 N. Squirrel Road
                            Auburn Hills, MI 48326




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                                  City of Aventura
                             19200 W Country Club Drive
                                 Aventura, FL 33180



                                  City of Boca Raton
                                 201 West Palmetto Rd
                                 Boca Raton, FL 33432



                                    City of Carlsbad
                                   1635 Faraday Ave
                                  Carlsbad, CA 92008



                                 City of Corte Madera
                                    Dept of Finance
                            300 Tamalpais Dr., P.O. Box 159
                             Corte Madera, CA 94976-0159



                                City of Fort Lauderdaule
                                    Dept of Finance
                                  100 N Andrews Ave
                                         1st Fl
                               Fort Lauderdale, FL 33301



                                     City of Gilroy
                                Business License Dept
                                   7351 Rosanna St
                                Gilroy, CA 95020-6197



                      City of Glendale Business Registration Center
                                 8839 N Cedar Ave #212
                                   Frasno, CA 93720




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                              City of Holyoke, MA
                               536 Dwight Street
                                    Room 13
                               Holyoke, MA 1040



                               City of Livermore
                             1052 S Livermore Ave
                             Livermore, CA 94550



                               City of Los Angeles
                                 Dept of Finance
                           Unit 200 North Spring Street
                                    Room 101
                             Los Angeles, CA 90012



                             City of Miami Beach
                                PO Box 116649
                            Atlanta, GA 30368-6649



                               City of Natick, MA
                                13 E. Central St.
                               Natick, MA 01760



                              City of New Orleans
                                 Dept of Finance
                          Bureau of Revenue - Sales Tax
                                 1300 Perdido St
                                   Suite 1W15
                            New Orleans, LA 70112



                                City of Novi, MI
                             45175 W. Ten Mile Rd
                                Novi, MI 48375




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                                 City of Orlando
                           Permitting Services Division
                              400 South Orange Ave
                                      1st Fl
                                Orlando, FL 32801



                                City of Palo Alto
                                 PO Box 7026
                            San Francisco, CA 94120



                             City of Pembroke Pines
                           Local Business Tax Division
                              601 City Center Way
                            Pembroke Pine, FL 33025



                                City of San Diego
                                9325 Hazard Way
                                     Ste. 100
                              San Diego, CA 92123



                             City of San Luis Obispo
                        Business License and Tax Renewal
                                 990 Palm Street
                           San Luis Obispo, CA 93401



                              City of Santa Barbara
                                735 Anacapa Street
                          Santa Barbara, CA 93101-2203



                              City of Santa Monica
                                 Dept of Finance
                                1685 Main Street
                                  Mail Stop 09
                            Santa Monica, CA 90401




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                                City of Sunrise
                              1601 NW 136th Ave
                                  Building A
                               Sunrise, FL 33323



                               City of Sweetwater
                               Business Tax Dept
                               500 SW 109th Ave
                              Sweetwater, FL 33174



                             City of Walnut Creek
                            Business License Counter
                                1666 N Main St
                            Walnut Creek, CA 94596


                                 CJ Affiliate
                                768 North Ave
                            New Rochelle, NY 10801


                              Clark County Assessor
                            500 S Grand Central Pkwy
                              Las Vegas, NV 89155



                          Clark County Business License
                            500 S Grand Central Pkwy
                                     3rd Fl
                              Las Vegas, NV 89155



                           Clear Creek Isd Tax Office
                                 2425 E Main St
                            League City, TX 77573




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                             Columbus Centre Retail
                              Levitt & Boccio, LLP
                         Attn: David A. Rubenstein, Esq.
                               60 Columbus Circle
                                    20th Floor
                              New York, NY 10023



                                    Comcast
                                 PO Box 70219
                          Philadelphia, PA 19176-0219



                                     Comed
                                  PO Box 6111
                          Carol Stream, IL 60197-6111



                              Commission Junction
                            530 East Montecito Street
                                   Suite 106
                            Santa Barbara, CA 93103



                          Commonwealth Packaging Co
                             5490 Linglestown Rd
                             Harrisburg, PA 17112



                                 Con Edison
                                 Jaf Station
                                PO Box 1702
                           New York, NY 10116-1702



                           Concur Technologies, Inc
                         62157 Collections Center Drive
                              Chicago, IL 60693




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                                  Conductor Inc
                              2 Park Ave 15th Floor
                              New York, NY 10016



                           Connecticut Dept of Revenue
                                  PO Box 5030
                            Hartford, CT 06102-5030



                                   Controltek
                               200 Crossing Blvd
                                    Ste 200
                             Bridgewater, NJ 08807



                            Cornell Storefront System
                               140 Maffet Street
                                    Suite 200
                            Wilkes-Barre, PA 18705



                                  Corette LLC
                        c/o Law Offices of Philip A Kantor
                         1781 Village Center Circle Suite
                              Las Vegas, NV 89134



                            Costa Del Mar Sunglasses
                                P.O. Box 863628
                            Orlando, FL 32886-3628


                                     Cox
                                 315 W 39th St
                              New York, NY 10018

                          Cushman & Wakefield US Inc
                      Cushman & Wakefield Solution LL (KS)
                                 PO Box 589
                              Colwich, KS 67030




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                              Cybersource Corporation
                                  PO Box 742842
                            Los Angeles, CA 90074-2842



                             Delta Dental of New York
                                  P.O. Box 62577
                              Baltimore, MD 21264



                                 Denison Parking
                               125 Westchester Ave.
                                       #900
                              White Plains, NY 10601



                      Dept of Agriculture/Weights and Measures
                                  2380 Bisso Lane
                                       Suite A
                                Concord, CA 94520



                                   Derigo Rem
                            10941 La Tuna Canyon Road
                            San Valley, CA 91352-2012



                                      Dita Inc
                                    1 Columbia
                               Aliso Viejo, CA 92656



                                   Duke Energy
                                   PO Box 1004
                             Charlotte, NC 28201-1004



                                 Duval County, FL
                                 231 E. Forsyth St
                                     Suite 130
                              Jackson, FL 32202-3370


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                            E.J. Harrison & Sons Inc
                                 P.O. Box 4009
                            Ventura, CA 93007-4009



                             Eastern States Eyewear
                             33 Hempstead Turnpike
                               Elmont, NY 11033



                              Empower Retirement
                                 PO Box 17376
                             Denver, CO 80217-3764


                                   Entergy
                               P.O Box 61009
                          New Orleans, LA 70161-1009



                        Entertainment Benefits Group, LLC
                               19495 Biscayne Blvd
                                     Ste 300
                                 Miami, FL 33180



                           Extra Space Management In
                                 27 Bond Street
                            Central Valley, NY 10917



                            Eye Candy Creations USA
                              1201 Peachtree St NE
                                Floor 2 Suite 247
                               Atlanta, GA 30361




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                               Fairfax County, VA
                       Finance Dept./Business Tax Division
                                601 Carmen Drive
                              Camarillo, CA 93010



                               Fairfax County, VA
                        12000, Government Center Parkway
                                Fairfax, VA 22035



                                  Fairway LLC
                        c/o Law Offices of Philip A Kantor
                         1781 Village Center Circle Suite
                              Las Vegas, NV 89134



                                FAIRWAY LLC
                                40 Bayview Ave
                               Inwood, NY 11096


                                   Fandl LLC
                             170 E. Ridgewood Ave
                             Ridgewood, NJ 07450



                                       Fedex
                                  P.O Box 371461
                            Pittsburgh, PA 15250-7461



                               Fidelity Investments
                                  PO Box 73307
                                Chicago, IL 60673



                       Fire King Commercial Services, LLC
                                 PO Box 779108
                                Chicago, IL 60677




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                                    Fitting Box
                              209 rue de l'Innovation
                                  31670 Labège
                                      France



                             Florida Dept of Revenue
                       Tech Assistance & Dispute Resolution
                                  P.O. Box 7443
                           Tallahassee, FL 32314-7443



                             Florida Power and Light
                              General Mail Facility
                             Miami, FL 33188-0001



                               Frontier Telephone
                             401 Wilshire Boulevard
                                    Suite 700
                             Santa Monica, CA 90401



                         Fulton County Tax Commissioner
                                 141 Pryor St SW
                                Atlanta, GA 30303



                                   Gaffos Inc
                                40 Bayview Ave
                               Inwood, NY 11096



                            Gallaway Safety & Supply
                                205 Carlton Drive
                                  PO Box 128
                             Eighty Four, PA 15330




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                              Gen3 Marketing LLC
                               960B Harvest Drive
                                    Suite 210
                              Blue Belle, PA 19422



                             Georgia Dept of Revenue
                        State of Georgia, Dept of Revenue
                                 P.O. Box 105408
                             Atlanta, GA 30348-5408



                                Georgia Power
                              1218 W Winton Ave
                              Hayward, CA 94545



                                   Globex
                                PO Box 5534
                             Englewood, NJ 07631



                                   Go Mini's
                                 P.O. Box 2362
                              Eaton Park, FL 33840



                              Good Design Studios
                             341 Three Mile Hill Rd
                             Middlebury, CT 06762



                          Granite Telecommunications
                         100 Newport Avenue Extension
                              Quincy, MA 02171



                                   GSI Corp
                                40 Bayview Ave
                               Inwood, NY 11096




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                                      GTT
                                PO Box 842630
                             Dallas, TX 75284-2630



                                  Gulf Power
                                P.O. Box 29090
                             Miami, FL 33102-9090



                             Harris County Mud 358
                                P.O Box 684000
                            Houston, TX 77268-4000



                              Harris County, TX
                                P.O. Box 4622
                            Houston, TX 77210-4622



                            Hawaii Dept of Revenue
                            Hawaii Dept of Taxation
                                P.O. Box 1425
                            Honolulu, HI 96806-1425



                        Hawaiian Electric Light Company
                                P.O. Box 29570
                           Honolulu, HI 96820-1970



                               Hawaiian Telcom
                                P.O. Box 30770
                            Honolulu, HI 96820-0770




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                                Hays County, TX
                              712 Stagecoach Trail
                                   Suite 1120
                           San Marcos, TX 78666-6073



                                   Heartland
                                361 Newbury St
                                     5th Fl
                               Boston, MA 02115



                             Herrick Feinstein LLP
                              Two Park Avenue
                             New York, NY 10016



                              Hidalgo County, TX
                                 P.O. Box 178
                              Edinburg, TX 78540



                            Hillsborough County, FL
                                 P.O. Box 30012
                            Tampa, FL 33630-3012



                           Hilsinger Company dba Hil
                                 PO Box 644498
                           Pittsburgh, PA 15264-4498


                                HIPAA VAULT
                                 950 Boardwalk
                             San Marcos, CA 92078


                                 HR Direct
                               PO Box 669390
                           Pompano Beach, FL 33066




                                      20
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                         HUB International Northeast Ltd
                              100 Sunnyside Blvd
                            Woodbury, NY 11797



                                  Hyperspace
                              87 N Raymond Ave.
                                   Ste 905A
                              Pasadena, CA 91103



                                    IEM Inc
                                 PO Box 93538
                              Las Vegas, NV 89193



                            Illinois Dept of Revenue
                           Retailers’ Occupation Tax
                                101 W Jefferson St
                           Springfield, IL 62796-0001



                           Institutional Mall Investors
                             Boulevard Invest LLC
                             c/o Miracle Mile Shops
                              3663 Las Vegas Blvd
                                 South Suite 900
                              Las Vegas, NV 89115



                            Interstate Waste Services
                                 PO Box 554744
                             Detroit, MI 48255-4744



                                  Ira Kevelson
                             REDACTED



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                            Internal Revenue Service
                             Bankruptcy Department
                                 290 Broadway
                              New York, NY 10007

                              IRS Isolvency Section
                            Internal Revenue Service
                               2970 Market Street
                          Philadelphia, PA 19104-5016


                             IRS Insolvency Section
                            Internal Revenue Service
                                 P.O. Box 7346
                          Philadelphia, PA 19101-7346


                                JDDACPA LLC
                              5114 Stonetwood Cir
                              Mableton, GA 30126



                                 Jefferson Parish
                                  P.O. Box 248
                                Grenta, LA 70054



                         Jefferson Parish Sheriff's office
                         Bureau of Revenue and Taxation
                                Sales Tax Division
                                  P.O. Box 248
                                Grenta, LA 70054


                                Jeffrey R Pollack

                            REDACTED
                          Jersey Central Power & Light
                               30895 West 8 Mile
                               Livonia, MI 48152




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                                        JLL
                      Keystone-Florida Property Holding Group
                                 Attn: Legal Dept
                                234 Mall Boulevard
                                  P.O. Box 1528
                            King Of Prussia, PA 19406



                                       JLL
                           Maui Outlets Associates, LLC
                          c/o Maui Lahaina Partners, LLC
                               3660 Waialae Avenue
                                    Suite 304
                                Honolulu, HI 96816



                                JP Morgan Chase
                              National Bank By Mail
                                  PO Box 6185
                              Westerville, OH 43086


                          Kaelex Inc dba Ready Set Retail
                                  33 College Ave
                                       Ste A
                                Rexburg, ID 83440



                               Kaihatsu Media LLC
                                 56 Berkshire Way
                             East Brunswick, NJ 08816



                                Kawanda Williams
                              REDACTED


                            KCP Advisory Group LLC
                            700 Technology Park Drive
                                     Suite 212
                               Billerica, MA 01821


                                        23
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                            Kering Eyewear USA Inc
                            200 Somerset Corp Blvd
                                   Suite 4002
                             Bridgewater, NJ 08807



                            Keter Environmental Serv.
                               4 High Ridge Park
                              Stamford, CT 06905



                                  Klaviyo, Inc
                               225 Franklin Street
                                   10th Floor
                               Boston, MA 02110



                               Kleinschmidt Inc
                                  PO Box 7158
                            Deerfield, IL 60015-7158



                              Krewe Du Optic LLC
                               1020 Thalia Street
                             New Orleans, LA 70130



                       LA Dept of Agriculture and Forestry
                        LA Dept of Agriculture & Forestry
                        Division of Weights and Measures
                                5825 Florida Blvd
                                     Ste 500
                             Baton Rouge, LA 70806



                                 L'Amy America
                               40 Richards Avenue
                                      6 Fl
                               Norwalk, CT 06864




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                              Las Vegas City Hall
                                 495 S Main St
                             Las Vegas, NV 89101



                             Lexington County, SC
                              212 South Lake Dr
                                   Suite 103
                           Lexington, SC 29072-3499



                           Life Insurance Company of
                            900 Cottage Grove Road
                            Philadelphia, PA 19178




                             Lighthouse Services Inc
                               1710 Walton Road
                                   Suite 204
                              Blue Bell, PA 19422



                             Linkedin Corporation
                         62228 Collections Center Drive
                              Chicago, IL 60693



                              Littler Mendelson PC
                                 PO Box 207137
                             Dallas, TX 75320-7137



                                 Look 'N See
                              127 B Spruce Street
                             Cedarhurst, NY 11516




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                            Loomis Armoured US Inc
                                Dept. Ch 10500
                               Palatine, IL 60055



                              Los Angeles County
                              200 N. Spring Street
                             Los Angeles, CA 90012



                           Louisiana Dept of Revenue
                                 P.O. Box 3138
                          Baton Rouge, LA 70821-3138




                            Luxottica of America Inc
                             4000 Luxottica Place
                           West Hollywood, CA 90069


                                     LYFT
                                  6201 15th Ave
                               Brooklyn, NY 11219


                                    Macerich
                                  P.O. Box 2172
                             401 Wilshire Boulevard
                                    Suite 700
                             Santa Monica, CA 90401



                                    Macerich
                         Fashion Outlets of Niagara Falles
                                 P.O. Box 2188
                                Santa Monica, CA




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                                   Madaluxe
                               1760 Apollo Court
                             Seal Beach, CA 90740



                              Madison County, MS
                               146. W Center St
                               Canton, MS 39046



                        Managed Business Communications
                             430 Sand Shore Road
                                   Suite 10
                            Hackettstown, NJ 07840



                          Marcolin USA Eyewear Corp
                                  PO Box 5162
                          Carol Stream, IL 60197-5162



                           Maria Del Carmen Izquierdo

                      REDACTED
                                  Marin County
                          Dept of Weights and Measures
                               1682 Novato Blvd.
                                   Suite 150-A
                            Novato, CA 94947-7021



                           Maryland Dept of Revenue
                              110 Carroll Street
                            Annapolis, MD 21411



                         Massachusetts Dept of Revenue
                                PO Box 7009
                               Boston, MA 2204


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                                    Maui Jim
                               P.O. Box 203861
                             Dallas, TX 75320-3861



                              MBG Consulting Inc
                              980 N Michigan Ave
                                  Suite 1000
                               Chicago, IL 60611



                            Mecklenburg County, NC
                                 P.O. Box 31457
                            Charlotte, NC 28231-1457



                           Menehune Water Company
                          99-1205 Halawa Valley Street
                            Aiea Haw, II 96701-3281



                        Metropolitan Telecommunications
                                 44 Wall Street
                                   14th Floor
                         Manchester, NH 03108-9660



                             Miami-Dade County, FL
                              200 NW 2nd Avenue
                             Miami, FL 33128-1733



                            Michael Page International
                         392604 500 Ross Street 154-0460
                              Pittsburg, PA 15251




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                                Michael S Gross

                            REDACTED

                           Michigan Dept of Revenue
                               P.O. Box 30324
                           Lansing, MI 48909-7824



                              Microsoft Online Inc
                                6100 Neil Road
                                    Ste 100
                               Reno, NV 89511



                           Minnesota Dept of Revenue
                                 P.O. Box 64622
                            St. Paul, MN 55164-0622



                           Mississippi Dept of Revenue
                                 P. O. Box 1033
                               Jackson, MS 39215



                            Missouri Dept of Revenue
                                Taxation Division
                                  P.O. Box 840
                         Jefferson City, MO 65105-0840



                         Montgomery County Tax office
                             400 N San Jacinto St
                              Conroe, TX 77301



                                  Mood Media
                                 PO Box 602277
                            Charlotte, NC 28260-2777




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                          Morgan, Lewis & Bockius LLP
                               1701 Market Street
                             Philadelphia, PA 19103



                            Multi Service Technology
                       United Uatp Programpo Box 733229
                             Dallas, TX 75373-3229



                               Multimedia Plus Inc
                                 853 Broadway
                                   Suite 1605
                              New York, NY 10003



                                Myers Holum Inc
                              244 Madison Avenue
                                   Suite 217
                              New York, NY 10016



                                   National Grid
                                   P.O. Box 316
                           Prairie Du Chien, WI 53821



                             National Vision Admin.
                                 120 Rt 46 West
                               Clifton, NJ 07013



                             Native Pest Management
                           2731 Vista Parkway Unit D5
                           West Palm Beach, FL 33411




                                      30
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                               Navex Global Inc
                              5500 Meadows Road
                                   Suite 500
                            Lake Oswego, OR 97035



                           Nelmar Security Packaging
                            3100 Des Batissuers Str
                           Terrebone, Quebec 4 0A2



                           Netwolves Network Service
                             4710 Eisenhower Blvd
                                     Ste E8
                          Philadelphia, PA 19182-6923



                             Nevada Dept of Revenue
                         State of Nevada Dept of Taxation
                               1550 College Parkway
                                     Suite 115
                              Carson City, NV 89706



                            Nevada Dept of Taxation
                                 PO Box 7165
                            San Francisco, CA 94120



                           New Jersey Dept of Revenue
                             NJ Division of Taxation
                                  PO Box 245
                               Trenton, NJ 12205



                           New Jersey Natural Gas Co
                                PO Box 11743
                            Newark, NJ 07101-4743




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                           New York Dept of Revenue
                       NY State Dept of Taxation & Finance
                                 PO Box 5300
                               Albany, NY 12205



                           New York Dept of Revenue
                               One Centre Street
                                 22nd Floor
                             New York, NY 10007



                                  Niche Optics
                             110 Chestnut Ridge Rd.
                                    STE 340
                              Montvale, NJ 07645



                         North Carolina Dept of Revenue
                         North Carolina Dept of Revenue
                                 PO Box 25000
                               Raleigh, NC 27640



                               Nrai Services, LLC
                               160 Greentree Drive
                                    Suite 101
                                Dover, DE 19904



                                  NV Energy
                                PO Box 30150
                             Reno, NV 89520-3150



                           NYC Department of Finance
                                P.O. Box 3931
                           New York, NY 10008-3931




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                                  Oakley Inc.
                          Attn: Dora Carey File 557162
                          Los Angeles, CA 90074-7162



                             O'Connor Capital Partners
                        c/o O'Connor Property Management
                               230 Royal Palm Way
                                     Ste. 102
                              Palm Beach, FL 33480



                             Oliver Peoples Group
                             8570 W. Sunset Blvd
                                  Suite # 200
                           West Hollywood, CA 90069



                                  Opti Pak Inc
                                37 Empire Street
                               Newark, NJ 07114



                              Oracle America Inc.
                              500 Oracle Parkway
                            Redwood City, CA 94065



                           Orange & Rockland Utility
                                 PO Box 1005
                               Valley, NY 10977



                              Orange County, FL
                               P.O. Box 545100
                            Orlando, FL 32854-5100




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                         Orange Tree Employment Screening
                                    105-101412
                                   PO Box 9202
                           Minneapolis, MN 55480-9202



                            Orlando Utilities Commission
                                   PO Box 31329
                               Tampa, FL 33631-3329



                             Outlook Eyewear Company
                                    Dept #1419
                              Denver, CO 80291-1419



                               Pacific Gas and Electric
                                     Box 997300
                             Sacramento, CA 95899-7300



                          Palm Beach County Tax Collector
                              Attn: Business Tax Dept
                                    PO Box 3715
                            West Palm Beach, FL 33402



                      Parish of East Baton Rouge Dept of Finance
                                  City of Baton Rouge
                              Parish of East Baton Rouge
                         Dept. of Finance - Revenue Division,
                                     P.O. Box 2590
                             Baton Rouge, LA 70821-2590



                                      Paylocity
                                     Dept #2007
                                   PO Box 87844
                               Carol Stream, IL 60188




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                                    Paypal
                             2211 North First Street
                              San Jose, CA 95131


                                  Payscale Inc
                               1000 1st Ave South
                             Chicago, IL 60675-1343



                               PCNMICRO Corp
                             1345 Queen Anne Road
                               Teaneck, NJ 07666



                          Pennsylvania Dept of Revenue
                                PO Box 280905
                              Harrisburg, PA 17128



                            Pest Elimination Systems
                                  PO Box 1092
                             New York, NY 10013



                                     PG&E
                                P.O. Box 997300
                           Sacramento, CA 95899-7300



                           Port Authority of NY & NJ
                                 PO Box 95000
                          Philadelphia, PA 19195-1517



                            Premiere Global Services
                                PO Box 404351
                               Atlanta, GA 30384




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                              Premium Outlets | Simon
                       Director- Lease Admin and Gen Counsel
                      c/o Premium Outlets/Simon Property Grp.
                              105 Eisenhower Parkway
                                 Roseland, NJ 07068



                             Premium Outlets | Simon
                       Paragon Outlets Livermore Valley LLC
                             c/o The Lightstone Group
                            1985 Cedar Bridge Avenue
                                       Suite 1
                                Lakewood, NJ 8701



                                 Premium Parking
                                601 Poydras Street
                                    Suite 1500
                              New Orleans, LA 70130



                            Premium Parking Service L
                                601 Poydras Street
                                   Suite 1500
                             New Orleans, LA 70130



                                Premium Steel LLC
                               23555 Euclid Avenue
                               Cleveland, OH 44117


                                 Prive Goods LLC
                                   2627 NE 203
                                     Unit 201
                                Aventura, FL 33180



                              Provisioned Services Inc
                                9915 W 21st North
                                      Suite C
                                Wichita, KS 67205



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                                      Psegli
                                 P.O. Box 9039
                           Hicksville, NY 11802-9686



                            Public Pallet Storage Inc
                                  100 Inip Dr
                              Inwood, NY 11096



                                 Public Storage
                             10821 NW 14th Street
                            Charlotte, NC 28209-2840



                              Public Storage 08526
                               250 SW 136th Ave
                                Davie, FL 33325



                                QMI Holding Inc
                                 PO Box 775430
                             Chicago, IL 60677-5430



                               Quay Eyeware Inc
                                 821 Howard St
                            San Francisco, CA 94103



                            Rakuten Card Linked offic
                                800 Concar Drive
                              San Mateo, CA 94402



                                   Ramapost
                                  382 Route 59
                                    Suite 264
                               Airmont, NY 10952



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                             Regency Enterprises Inc
                                 PO Box 102193
                            Pasadena, CA 91189-2193



                                 Reliant Energy
                               P.O. Box 650475
                             Dallas, TX 75265-0475



                            Retail Consulting Service
                              470 Seventh Avenue
                             New York, NY 10018



                            Rich Taubman Associates
                                  Dept 56801
                                 PO Box 67000
                               Detroit, CT 06901



                                Ridge Ventures
                                21 Ridge Dr W
                             Great Neck, NY 11021



                               Ridgeland City Hall
                                304 Highway 51
                              Ridgeland, MS 39157



                                Riverside County
                          Dept of Weights and Measures
                                  P.O. Box 1089
                           Riverside, CA 92502-1069




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                             Robert Half International
                          12400 Collections Center Drive
                               Chicago, IL 60693



                          Roderick V. Hannah, Esq., P.A.
                                  Trust Account
                             4800 North Hiatus Road
                            Fort Lauderdale, FL 33351



                      Running and Cycling Enterprises (Race)
                              1015 Calle Amanecer
                            San Clemente, CA 92673



                               S. Adelsberg & Co.
                             280 Northeren Boulevard
                              Great Neck, NY 11021



                                 Safilo USA Inc
                                300 Lighting Way
                                Secaucus, NJ 7094



                               Samantha Machover

                             REDACTED


                                San Diego County
                          Dept of Weights and Measures
                                9325 Hazard Way
                                    Ste. 100
                             San Diego, CA 92123




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                            San Diego Gas & Electric
                                 PO Box 25111
                           Santa Ana, CA 92799-5111



                            San Luis Obispo County
                             Treasurer/Tax Collector
                               1055 Monterey St.
                                   Rm D-290
                           San Luis Obispo, CA 93408



                               Santa Clara County
                          Dept of Weights and Measures
                                1553 Berger Drive
                                     Bldg. 1
                               San Jose, CA 95112



                      Santa Monica Central Business District
                                Dept of Finance
                               1685 Main Street
                                  Mail Stop 09
                            Santa Monica, CA 90401



                          Sarasota County Tax Collector
                             101 S Washington Blvd
                               Sarasota, FL 34236



                           Sarasota Local Business Tax
                                    1565 1st St
                               Sarasota, FL 34236



                          Scarsdale Security Systems Inc
                                 P.O. Box 821320
                           Philadelphia, PA 19182-1320




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                          Schlam Stone and Dolan LLP
                                 26 Broadway
                             New York, NY 10004



                        Schnaer Harrison Segal and Lewis
                           140 Broadway, Suite 3100
                           New York, NY 10005-1101



                       Second Avenue Capital Partners LLC
                               4300 East 5th Ave
                              Columbus, OH 43219



                             Sentech Eas Corporation
                         4900 Lyons Technology Parkway
                                     Unit 7
                            Coconut Creek, FL 33073



                             Servicechannel.com Inc
                                  PO Box 392642
                            Pittsburgh, PA 15251-9642



                                  Shaidim Group
                         600 Reisterstown Road, Suite 514
                              Baltimore, MD 21208


                                 Shared Insight
                             1501 N. Sepulveda Blvd
                                   Suite E &F
                              Las Vegas, NV 89103



                             Shi International Corp
                                PO Box 952121
                             Dallas, TX 75395-2121




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                                  Shipstation
                           3800 N Lamar Blvd Ste 220
                               Austin, TX 78756


                           Short Circuit Electronics Inc
                               4201 Ne Port Drive
                            Lees Summit, MO 64064



                           Simon Property Group, Inc.
                             Attn: General Counsel
                           c/o Simon Property Group
                            225 West Washington St
                             Indianapolis, IN 46204



                           Simon Property Group, Inc.
                            King of Prussia Associates
                                   Legal Dept
                           c/o Kravco Simon Company
                               234 Mall Boulevard
                            King Of Prussia, PA 19406



                             Sklar Williams PLLC
                            410 South Rampart Blvd
                                   Suite 350
                             Las Vegas, NV 89145



                                 SMI Properties
                               Att: Jennifer Turley
                                5239 Z Max Blvd
                              Harrisburg, NC 28075



                             Smith Sport Optics Inc
                             PO Box 35144 #43079
                            Seattle, WA 98124-5144




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                            Smolin Lupin & Co., P.A.
                              165 Passaic Avenue
                                    Ste 411
                              Fairfield, NJ 07004



                                   Socalgas
                                  PO Box C
                         Monterey Park, CA 91756-5111



                             Solano County Treasurer
                                 675 Texas Street
                                    Suite 1900
                               Fairfield, CA 94533



                            Solomon Page Group LLC
                                260 Madison Ave
                                    3rd Floor
                             Chicago, IL 60675-5314



                         Solstice Marketing Concepts LLC
                          c/o KCP Advisory Group LLC
                            700 Technology Park Drive
                                      Suite 212
                                Billerica, MA 01821



                            Solutions Management Inc
                                  P.O. Box 1027
                             Remsenburg, NY 11960



                           Soni Resources Group LLC
                                 315 W 36th St
                             New York, NY 10018




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                              SOS Security LLC
                                PO Box 21577
                           New York, NY 10087-1577



                           South Beach Tri Star Capital
                            PPF MBL Portfolio, LLC
                            c/o Terranova Corporation
                            801 Arthur Godfrey Road
                                     Suite 600
                             Miami Beach, FL 33140



                         South Carolina Dept of Revenue
                          300A Outlet Pointe Boulevard
                              Columbia, SC 29210



                           South Walton Utility Comp
                            369 Miramar Beach Drive
                           Miramar Beach, FL 32550



                       Southern California Edison Company
                                  P.O. Box 300
                           Rosemead, CA 91771-0001



                             Southpoint Mall LLC
                                  PO Box 86
                          Minneapolis, MN 55486-2886



                           Southwest Gas Corporation
                                P.O. Box 24531
                            Oakland, CA 94623-1531



                                    SP Plus
                               PO Box 74007568
                               Chicago, IL 60674


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                            Specialty Lighting Group
                                74 Pickering St
                              Portland, CT 06480



                           Spectrotel Holding Company
                                  PO Box 1949
                             Newark, NJ 07101-1949



                                    Spectrum
                             12405 Powerscourt Dr
                            Pasadina, CA 91109-7186

                       State of New York Attorney General
                                 Bankruptcy Dept.
                                   The Capitol
                             Albany, NY 12224-0341

                                  Storagemart
                               250 Flanagan Way
                               Secaucus, NJ 07094



                                 Store 712
                 JAMESTOWN Prem. SLO Downtown Centre LP
                      c/o Jamestown Ponce City Market
                        675 Ponce De Leon Ave. N.E.
                                 7th Floor
                             Atlanta, GA 30308



                            Stored Value Solutions In
                             3802 Reliable Parkway
                            Chicago, IL 60686-0038




                                Suresh Mahtani
                            REDACTED

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                           Tampa Westshore Associate
                                  Dept 177001
                                 PO Box 67000
                             Detroit, MI 48267-1770



                                  Tekscape Inc
                                131 West 35th St
                                   5th Floor
                              New York, NY 10001



                              Texas Dept of Revenue
                       Texas Comptroller of Public Accounts
                                 111 East 17th St
                                Austin, TX 78774



                            The Car Park of New York
                                 702 W Idaho St
                                     Ste 650
                                 Boise, ID 83701



                              The Feil Organization
                              Greater Lakeside Corp.
                                    Suite 618
                               370 Seventh Avenue
                              New York, NY 10001



                                  The Hartford
                                PO Box 660916
                                Dallas, TX 75266




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                             The Mattiace Company
                       Renaissance at the Colony Park, LLC
                             Attn: Andrew Mattiace
                                 P.O. Box 13809
                               Jackson, MS 39236



                            The Pyramid Companies
                       Pyramid Management Group, LLC
                      General Counsel The Clinton Exchange
                                4 Clinton Square
                               Syracuse, NY 13202



                             The Taubman Company
                                P.O. Box 67000
                               Detroit, MI 48267



                             The Taubman Company
                          Taubman Benderson UTC LLC
                                P.O. Box 674647
                               Detroit, MI 48267



                          The Woodlands Water Agency
                             2455 Lake Robbins Dr
                           The Woodlands, TX 77380



                                Thelios USA Inc
                               201 Route 17 North
                                   Suite 805
                              Rutherford, NJ 07070



                          This and That Consulting LLC
                               103 Rutledge Court
                                Newark, DE 19702




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                              Time Warner Cable
                              133-19 Atlantic Ave
                               Queens, NY 11418


                               Town of Niagara
                              7105 Lockport Road
                            Niagara Falls, NY 14305



                           Township of Upper Merion
                            175 W. Valley Forge Rd
                           King of Prussia, PA 19406



                                Tradeglobal LLC
                             5389 E. Provident Drive
                              Cincinnati, OH 45246



                            Travelex Currency Service
                               355 Lexington Ave
                                      Fl 3
                              New York, NY 10017



                               Travis County, TX
                                 P.O. Box 1748
                               Austin, TX 78767



                            Triangle Sign and Service
                          11 Azar Court PO Box 24186
                              Baltimore, MD 21227



                                 Truesource LLC
                          2929 Expressway Drive North
                                    Suite 300B
                               Islandia, NY 11749




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                               Turnberry Associates
                              Aventura Mall Venture
                       c/o Turnberry Aventura Mall Co., Ltd.
                               19501 Biscayne Blvd.
                                     Suite 400
                                Aventura, FL 33180



                            Unibail Rodamco Westfield
                                  PO Box 50429
                             Los Angeles, CA 90074



                           UPS Supply Chain Solution
                              28013 Network Place
                           Carol Stream, IL 60132-0577



                               United States Attorney
                       for the Southern District of New York
                             86 Chambers Street, 3rd Fl.
                                New York, NY 10007


                                United States Trustee
                       for the Southern District of New York
                             Attn: Bankruptcy Division
                            201 Varick Street, Suite 1006
                                New York, NY 10014



                                   US Bank
                               800 Nicollet Mall
                             Minneapolis, MN 55402


                      U.S. Securities & Exchange Commission
                           Attn: Office of Reorganization
                            200 Vesey Street, Suite 400
                                New York, NY 10281




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                      U.S. Securities & Exchange Commission
                           Attn: Office of Reorganization
                             950 E Paces Ferry Rd. NE
                                      Suite 900
                              Atlanta, GA 30326-1382


                      U. S. Securities & Exchange Commission
                                   100 F Street, NE
                               Washington, DC 20549



                                   Valley Fair
                               11601 Wilshire Blvd.
                                    12th Floor
                              Los Angeles, CA 90025



                           Ventura County Tax Collector
                                800 S Victoria Ave
                               Ventura, CA 93009



                               Verint Americas Inc
                             800 Northpoint Parkway
                             Dallas, TX 75357-3597



                                    Verizon
                                P.O. Box 16800
                             Newark, NJ 07101-6800



                               Village of Rosemont
                              Health & License Dept
                              9501 West Devon Ave
                                      2nd Fl
                               Rosemont, IL 60018




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                           Virginia Dept of Revenue
                       VA Tax office of Customer Services
                                 PO Box 1115
                            Richmond, VA 23218



                            Visible SCM Fulfillment
                              5160 Wiley Post Way
                            Salt Lake City, UT 84116



                            Visual Marketing Partners
                                230 Park Avenue
                                   Suite 1601
                             New York, NY 10169



                                  Vology Inc
                             15950 Bay Vista Drive
                             Clearwater, FL 33760



                               Waller Realty Inc.
                           Coppersmith & Coopersmith
                                 233 Broadway
                                   18th Floor
                             New York, NY 10279



                               Walton County, FL
                                 P.O. Box 510
                           Defuniak Springs, FL 32435



                          Washington Dept of Revenue
                                PO Box 47478
                             Olympia, WA 98504




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                            Waste Connections of New
                                P.O. Box 660654
                             Dallas, TX 75266-0654



                            Weeks Lerman Group LLC
                           58-38 Page Placep.O. Box O
                               Maspeth, NY 11378


                            Wells Fargo Bank, N.A.
                                 PO Box 63020
                            San Francisco, CA 64163


                      West Coast Employment Lawyers, APLC
                              350 S. Grand Avenue
                                   Suite 3325
                             Los Angeles, CA 90071


                           Western Surety / CNA Surety
                                   CNA Surety
                                 PO Box 957289
                            St Louis, MO 63195-7289


                            Westfield Emporium LLC
                                PO Box 743331
                            Los Angeles, CA 90025



                                  Westfield LLC
                      Westfield Concession Management, LLC
                       Airport Division Management office
                            2730 University Boulebard
                                    Suite LL6
                                Wheaton, MD 20902




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                                 Westfield LLC
                          Santa Anita Shoppingtown LP
                                Attn: Legal Dept
                             2049 Century Park East
                                   41st Floor
                             Los Angeles, CA 90067



                                 Westfield LLC
                          Westfield World Trade Center
                               37th Floor, Suite C
                             7 World Trace Center
                             250 Greenwich Street
                             New York, NY 10007



                              Window Film Depot
                               PO Box 744908
                              Atlanta, GA 30374



                          WM Corporate Services Inc
                                  PO Box 4648
                          Carol Stream, IL 60197-4648



                                    Yelp Inc
                           140 New Montgomery Street
                            San Francisco, CA 94105



                                  Yext Inc
                               1 Madison Ave
                                   5th Flr
                             New York, NY 10010


                                YOTPO.com
                               400 Lafayette St
                             New York, NY 10003




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                                     Yurong Zhang
                                  185 Greenwich Street
                                     Suite LL5140
                                  New York, NY 10007


                      REDACTED
                                      Yuval Shani

                      REDACTED
                                    ZENDESK, INC.
                                      1019 Market St
                                 San Francisco, CA 94103




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 Jason R. Alderson
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 charlie.liu@morganlewis.com
 david.shim@morganlewis.com

 Proposed Counsel for Debtor and Debtor-in-Possession


     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

     In re:
                                                                     Chapter 11
     SOLSTICE MARKETING CONCEPTS LLC,
                                                                     Case No. 21-________(___)

                                     Debtor.1

                                VERIFICATION OF CREDITOR MATRIX

              I, the Chief Restructuring Officer of Solstice Marketing Concepts LLC as debtor and debtor

 in possession in the above-referenced chapter 11 case, hereby verify that the attached list of

 creditors is true and correct to the best of my knowledge.

 Dated: February 17, 2021
        New York, NY

                                                                   ___________________________
                                                                   /s/     Jacen A. Dinoff
                                                                   Jacen A. Dinoff
                                                                   Chief Restructuring Officer
                                                                   Solstice Marketing Concepts LLC


 1
  The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is: Solstice
 Marketing Concepts LLC (4579).


DB1/ 119114863.1
